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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                                CASE NO.:

  CARMEN ROEBUCK,
  a citizen and resident of Connecticut,

          Plaintiff,

  vs.

  ROYAL CARIBBEAN CRUISES LTD.,
  a Liberian Corporation,

        Defendant.
  __________________________________________/

                                              COMPLAINT

          Plaintiff CARMEN ROEBUCK, a Connecticut citizen and resident, sues Defendant

  ROYAL CARIBBEAN CRUISES, LTD., a Liberian Corporation with its principal place of

  business in Florida, and files her complaint and alleges:

                                  JURISDICTION, VENUE AND PARTIES

          1.      This is an action for damages in excess of seventy-five thousand ($75,000.00)

  dollars, exclusive of interest and costs.

          2.      Plaintiff CARMEN ROEBUCK is sui juris and is a resident and citizen of the State

  of Connecticut.

          3.      Defendant ROYAL CARIBBEAN CRUISES LTD. (RCCL) is a Liberian

  Corporation with its principal place of business in Miami-Dade County, Florida. For federal

  jurisdictional purposes, it is a citizen of Florida.

          4.      Subject matter jurisdiction exists based on diversity jurisdiction pursuant to 28

  U.S.C. §1332, since Plaintiff is a resident and citizen of the State of Connecticut, and the Defendant
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  is a citizen of Florida for purposes of 28 U.S.C. §1332 since its principal place of business is in

  Florida. The amount of damages claimed exceeds $75,000.00, the threshold amount for federal

  jurisdiction under 28 U.S.C. §1332. The damages alleged in Paragraph 15 below support an award

  of damages in excess of $75,000.00.

          5.      At all material times, Defendant has conducted ongoing substantial and not isolated

  business activities in Miami-Dade County, Florida, in the Southern District of Florida, so that in

  personam jurisdiction over the Defendant exists in the United States District Court for the Southern

  District of Florida.

          6.      At all material times, the Defendant has engaged in the business of operating

  maritime cruise vessels for paying passengers, including the Plaintiff.

          7.      In the operative ticket contract, the Defendant requires fare paying passengers such

  as the Plaintiff to bring any lawsuit against the Defendant arising out of injuries or events occurring

  on the cruise voyage in this federal judicial district. Accordingly, venue is proper in this Court.

          8.      Venue is also proper in this district because the Defendant's principal place of

  business is located within this district.

          9.      Plaintiff has complied with all conditions precedent to bringing this action. The

  Plaintiff reported the accident to the ship's medical crew shortly after it occurred, and an incident

  report and written medical records were prepared onboard the ship. Furthermore, the Plaintiff

  gave the Defendant timely written notice of her claim as required by the ticket contract on January

  5, 2024, a copy of which is attached as “Exhibit A”.

          10.     At all material times, Defendant was engaged in the business of operating maritime

  cruise vessels for fare paying passengers and for this purpose operated, among other vessels, the

  M/S INDEPENDENCE OF THE SEAS (“INDEPENDENCE”).


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         11.     At all material times, including the accident date of December 10, 2023, the

  Plaintiff was a fare-paying passenger aboard the INDEPENDENCE and in that capacity was

  lawfully present aboard the vessel.

         12.     At all material times, the Defendant owed the Plaintiff, as a paying passenger

  lawfully aboard its cruise vessel, a duty of reasonable care for her safety.

         13.     On or about December 10, 2023, there existed a hazardous or dangerous condition

  in the Windjammer Café deck surface on Deck 11 of the INDEPENDENCE. Specifically, in that

  area there were wet spots or areas on the walking surface, posing a slipping hazard for passengers

  walking in the area. The wet spots posed a slipping hazard, but not one that was apparent to

  reasonable passengers approaching the area, since the wet nature of the floor was not conspicuous

  or visible to casual inspection by a reasonable passenger not focused on an inspection of the floor.

          14.    At the time and place referred to in the preceding paragraph, the Plaintiff, while

  walking out of the Windjammer Café on Deck 11 referenced in the preceding paragraph, slipped

  on the wet spots or areas referenced in the preceding paragraph and as a result fell.

         15.     As a direct and proximate result of the fall referenced in the preceding paragraph,

  the Plaintiff, CARMEN ROEBUCK, was injured in and about her body and extremities, sustained

  injuries including a torn left meniscus, suffered pain and mental anguish therefrom, incurred past

  and future reasonably certain medical and related expenses in the treatment of her injuries, the

  future medical damages being reasonably certain to occur, sustained loss of earnings and earning

  capacity, disability, physical impairment, aggravation or activation of preexisting injuries, and

  suffered shame, humiliation, and the loss of capacity to enjoy life. Furthermore, she has lost

  earnings and/or earning capacity and will continue to do so in the future. These damages are




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  permanent or continuing in their nature and Plaintiff CARMEN ROEBUCK will continue to

  sustain these damages in the future.

                                COUNT I - NEGLIGENT MAINTENANCE

         16.     The Plaintiff adopts, realleges and incorporates by reference all allegations of

  Paragraphs 1 through 15 above and further alleges the following matters.

         17.     At all material times Defendant RCCL owed the Plaintiff, as a fare paying

  passenger lawfully on board its vessel, a duty of reasonable care for her safety, which included a

  duty to maintain the walking surfaces on Deck 11 of the INDEPENDENCE in a reasonably safe

  condition for passengers walking thereon, including the Plaintiff.

         18.     At all material times there existed a hazardous condition on the deck walking

  surface of the Windjammer Café on Deck 11 of the INDEPENDENCE as described in Paragraph

  13 above.

         19.     At all material times, the hazardous condition on the Windjammer Café walking

  surface referred to in Paragraph 13 above was in a high traffic area, regularly utilized as a walkway

  by all individuals on board the vessel.

         20.     At all material times prior to December 10, 2023, RCCL had actual and/or

  constructive notice of the dangerous condition described in Paragraph 13, because wet spots or

  areas on the floor of the Windjammer Café are a repetitive and recurring issue on RCCL cruise

  ships fleetwide. Specifically, RCCL was aware of prior slip and fall incidents caused by wet spots

  or wet areas on windjammer café floors on multiple cruise ships in RCCL’s fleet. The prior

  substantially similar falls include but are not limited to the following instances:

         a. On 03/11/2023, passenger P.S. slipped and fell on a wet floor surface in the Windjammer

  Café on the M/S RADIANCE OF THE SEAS. Silva v. RCCL, 1:24-cv-20866.


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         b. On 09/15/2023, passenger A.C. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S OASIS OF THE SEAS. Cuaresma v. RCCL, 1:24-cv-23204.

         c. On 04/12/2023, passenger D.B. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S NAVIGATOR OF THE SEAS. Burns v. RCCL, 1:24-cv-21326.

         d. On 12/18/2022, passenger M.L. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S EXPLORER OF THE SEAS. Lu v. RCCL, 1:23-cv-24725.

         21.     Notwithstanding the actual or constructive knowledge of RCCL as alleged above,

  RCCL failed adequately to maintain the walking surface in the Windjammer Café on Deck 11 of

  the INDEPENDENCE in the area where Plaintiff fell, before she slipped and fell as alleged in

  Paragraph 14 above.

         22.     RCCL’s specific negligent acts or omissions regarding maintenance of the

  Windjammer Café deck walking surface on Deck 11 of the INDEPENDENCE consist of one or

  more of the following:

         a.      Failing to maintain the Windjammer Café walking surface in a reasonably safe

                 condition;

         b.      Failing to conduct routine inspections of the Windjammer Café walking surface on

                 Deck 11 of the INDEPENDENCE in order to detect dangerous conditions;

         c.      Failure timely to clean, dry, cordon off or otherwise correct any dangerous

                 conditions on the walking surface of the Windjammer Café, once those conditions

                 were or should have been detected.

         23.     As a direct and proximate result of one or more of the negligent acts or omissions

  by RCCL alleged above, Plaintiff CARMEN ROEBUCK has sustained and will continue to sustain

  in the future the damages alleged in Paragraph 15 above.


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          WHEREFORE, the Plaintiff demands judgment against the Defendant for damages and

  the costs of this action and further demands trial by jury of all issues so triable as of right.

                              COUNT II - NEGLIGENT FAILURE TO WARN

          The Plaintiff adopts, realleges and incorporates by reference all allegations of Paragraphs

  1 through 15 above and further alleges the following matters.

          24.     At all material times Defendant RCCL owed the Plaintiff, as a fare paying

  passenger lawfully on board its vessel, a duty of reasonable care for her safety, which included a

  duty to warn of conditions on the walking surfaces of the INDEPENDENCE, actually or

  constructively known to it, that posed a slipping hazard to passengers walking thereon such as the

  Plaintiff.

          25.     At all material times there existed a hazardous condition on the Windjammer Café

  deck walking surface on Deck 11 of the INDEPENDENCE as described in Paragraph 13 above.

          26.     At all material times, the hazardous condition referred to in the preceding paragraph

  was in a high traffic area, regularly traversed by large numbers of passengers and crew members

  on board the vessel.

          27.     At all material times prior to December 10, 2023, RCCL had actual and/or

  constructive notice of the dangerous condition described in Paragraph 13, because wet spots or

  areas on the floor of the Windjammer Café are a repetitive and recurring issue on RCCL cruise

  ships fleetwide. Specifically, RCCL was aware of prior slip and fall incidents caused by wet spots

  or wet areas on windjammer café floors on multiple cruise ships in RCCL’s fleet. The prior

  substantially similar falls include but are not limited to the following instances:

          a. On 03/11/2023, passenger P.S. slipped and fell on a wet floor surface in the Windjammer

  Café on the M/S RADIANCE OF THE SEAS. Silva v. RCCL, 1:24-cv-20866.


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           b. On 09/15/2023, passenger A.C. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S OASIS OF THE SEAS. Cuaresma v. RCCL, 1:24-cv-23204.

           c. On 04/12/2023, passenger D.B. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S NAVIGATOR OF THE SEAS. Burns v. RCCL, 1:24-cv-21326.

           d. On 12/18/2022, passenger M.L. slipped and fell on a wet floor surface in the

  Windjammer Café on the M/S EXPLORER OF THE SEAS. Lu v. RCCL, 1:23-cv-24725.

           28.    At all material times, the dangerous condition described in Paragraph 13 was

  neither known nor obvious to the Plaintiff, for the reasons stated in Paragraph 13.

           29.    Notwithstanding the actual or constructive knowledge of RCCL as alleged above,

  RCCL at all material times before the Plaintiff slipped and fell as alleged in Paragraph 14 above

  failed adequately to warn passengers, including the Plaintiff, of the dangerous condition referenced

  in Paragraph 13 above, through adequate signage or markings, orally delivered or written

  warnings, cordoning off the dangerous area, or otherwise, and was thereby negligent.

           30.    As a direct and proximate result of RCCL’s negligent failure to warn as alleged

  above, Plaintiff CARMEN ROEBUCK slipped and fell as alleged in Paragraph 14 above and has

  thereby sustained and will continue to sustain in the future the damages alleged in Paragraph 15

  above.

           WHEREFORE, Plaintiff demands judgment against Defendant RCCL for compensatory

  damages, interest and the costs of this action and further demands trial by jury of all issues so

  triable as of right.




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                                   DEMAND FOR JURY TRIAL

         The Plaintiff hereby demands trial by jury of all issues so triable as of right.

         Dated, this 4th day of March, 2025.

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